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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

WHAM-O HOLDINGS, LTD. and
INTERSPORT CORP. d/b/a/ WHAM-,
                                                           Case No.: 1:19-cv-03851
        Plaintiffs,
                                                           Judge Matthew F. Kennelly
v.
                                                           Magistrate Judge Jeffrey Cummings
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.



                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiffs hereby file this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A:

                      Def. No.                                      Def. Name

                        496                                         liyang store

                        34                                            Big Sale

                        35                                          Lehu Store

                        17                                          shopping me

                        495                                        K fitness Store

                        498                                         MITO Store
   Case: 1:19-cv-03851 Document #: 39 Filed: 09/12/19 Page 2 of 2 PageID #:4991




DATED: September 12, 2019                          Respectfully submitted,

                                                   /s/ Keith A. Vogt
                                                   Keith A. Vogt (Bar No. 6207971)
                                                   Keith Vogt Ltd.
                                                   111 W. Jackson Blvd., Suite 1700
                                                   Chicago, Illinois 60604
                                                   Telephone: 708-203-4787
                                                   E-mail: keith@vogtip.com

                                                   ATTORNEY FOR PLAINTIFF

                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on September 12, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filings to all
registered attorneys of record.


                                                   /s/ Keith A. Vogt
                                                   Keith A. Vogt, Esq.
